                  Case 6:06-cr-00026-JRH-CLR Document 1585 Filed 05/28/15 Page 1 of 1
AO24?00/tr)    AnendedOnierResardrnu                 RedudionPursuantlol8 U S.C S j582(c)(2) Pagel ofl (Pagel Nor for PtrblicDisclo'"'",
                                   Moriotrfor Senlence
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                                                                            for the
                                                             SouthernDistrict of Georgia
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                                                                StatesboroDivision
                     UnitedStatesof America
                                    V.
                                                                                  CaseNo: 6:06CR00026-2
                          Stephanie
                                 Collins                                          USMNo: 12961-021

Dateof OriginalJudgment:                                8. 2008
                                                  January                        G. BrinsonWilliams.Jr.. andMichaelC. Garrett
Date of PreviousAmended Judgment: May 26,2015                                  ) Defendant'sAttorneys
(Iise Date af Last Anended Judgnent, I any)


            AmendedOrder RegardingMotion for Sentence ReductionPursuantto 18U.S.C.$ 3582(cX2)
                                                        for ArithmeticalEruor (Fed.R.Crim'P.
           Reasonfor Amendment: [X] Correctionof Sentence                                  35(a))

                                                                              courtunder18U,S.C.
                                    Ethe Directorof theBureauof PrisonsL---]the
          Uponmorionof Etne defendant

g 3582(c)(2)for a reductionin the term of imprisonmentimposedbasedon a guidelinesentencing      rangethat has
subsequently beenlowered   and  made            by
                                      retroactive  the United StatesSentencing   Commission  pursuant to 28 U.S C.
S 99a(u), and having consideredsuch motion, and taking  into accountthe  policy         set
                                                                                statement   forlh at USSG  $ 1B I .10 and
the sentencing factorssetforth in l8 U.S,C.$ 3553(a),to the extentthat they are applicable,


IT IS ORDERED thAt the MOtiONIS:
IOmUeO.      @Cn,mfEn     and the defendant'spreviously imposed sentenceof imprisonmentbs re:ftected
                                                                                                 inthetdst]udsmenl
ts"uet!1
       of I 16  monthsis reducedto 109months


                                               (CompletePafis I and II of Page 2 when motion is grqnted)




Except as otherwiseprovided above, all provisionsofthejudgment dated
IT TSSO ORDERED,
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o r d eD
       r ate:           5/ f S//5                                                                            Judge s stgn,rlure




                                                                                   DudleyH. Bowen,Jr.
EffectiveDate:                  1.2015
                          November                                                 United StatesDistrict Judge
                       if dtJfercnt from arder date)                                                      Prtnted nanteanJ tttle
